103 F.3d 121
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Dale James DEPASQUALE, Defendant-Appellant.
    No. 96-6736.
    United States Court of Appeals, Fourth Circuit.
    Dec. 17, 1996.Submitted Oct. 31, 1996.Decided Dec. 17, 1996.
    
      Dale James Depasquale, Appellant Pro Se.  Andrew Clayton White, OFFICE OF THE UNITED STATES ATTORNEY, Baltimore, Maryland, for Appellee.
      Before NIEMEYER, HAMILTON, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying his motion filed under 28 U.S.C. § 2255 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.   We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.  United States v. Depasquale, Nos.  CR-92-123-H;  CA-96-208-H (D.Md. Apr. 18, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    